                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

JAMES SPRINGER,

                Plaintiff,
v.
                                                      Civil Action No. 1:23-cv-00499-MIS-JMR
SEVENTH JUDICIAL DISTRICT COURT,
MERCEDES MURPHY,
SHANNON MURDOCK-POFF, JASON JONES,
and SUSAN ROSSIGNOL,

                               Defendants.


      REPLY IN SUPPORT OF OPPOSED MOTION FOR STAY AND INJUNCTION
                            PENDING APPEAL

     COMES NOW, Plaintiff, through undersigned counsel, with reply in support of his request for

this Court to issue a stay of the proceedings before the Court and injunction barring that the

Defendants may take no action to prevent Plaintiff’s free exercise of his rights to speech, press and

to petition his government for redress during the pendency of the appeal and for his reasons states:


     As noted by the Defendants, the court considers the following four factors when considering a

motion to stay pending appeal: (1) whether the stay applicant has made a strong showing that he

is likely to succeed on the merits; (2) whether the applicant will be irreparably injured absent a

stay; (3) whether issuance of the stay will substantially injure the other parties interested in the

proceeding; and, (4) where the public interest lies. Hilton v. Braunskill, 481 U.S. 770, 776, 107 S.

Ct. 2113, 95 L. Ed. 2d 724 (1987). “With respect to the four stay factors, where the moving party

has established that the three harm factors tip decidedly in its favor, the probability of success

requirement is somewhat relaxed.” FTC v. Mainstream Mktg. Servs., Inc., 345 F.3d 850, 852 (10th

Cir. 2003) (citations omitted). If the movant “can meet the other requirements for a stay pending




                                                 1
appeal, they will be deemed to have satisfied the likelihood of success on appeal element if they

show ‘questions going to the merits so serious, substantial, difficult and doubtful, as to make the

issues ripe for litigation and deserving of more deliberate investigation.’” McClendon, 79 F.3d at

1020 (quoting Walmer v. United States Dep’t of Defense, 52 F.3d 851, 854 (10th Cir.), cert. denied,

516 U.S. 974, 116 S. Ct. 474, 133 L. Ed. 2d 403 (1995).


   Here, the Court ruled, almost exclusively, that the request for injunctive relief failed because

Plaintiff failed to establish a substantial likelihood of success on the merits. Thus, because the

Court has not disagreed that the actions of Defendants to exclude Plaintiff from his free exercise

of speech, petitioning and press are irreparable harm, see Heideman v. S. Salt Lake City, 348 F.3d

1182, 1190 (10th Cir. 2003) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)), the Defendants’

have not demonstrated that harm to them is likely because outside of the two initial and minor

violations of court rules, that Defendants now claim (they initially claimed his ban was because

unknown persons called and complained to the Court on his behalf, see ECF Docs 1-1 and 1-2)

form the basis for their justification in stripping away fundamental liberties, or that injunction is

adverse to the public interest because the Court must recognize the Tenth Circuit’s holding that it

is always in the public’s interest to prevent violations of a person’s civil rights, see Sammartano

v. First Judicial District Court, 303 F.3d 959, 973 (9th Cir. 2002); see also Verlo v. Martinez, 820

F.3d 1113, 1127 (10th Cir. 2016); citing Pacific Frontier v. Pleasant Grove City, 414 F.3d 1221,

1237 (10th Cir. 2005); see also Utah Licensed Bev., 256 F.3d at 1076; Elam Constr., Inc. v.

Regional Transp. Dist., 129 F.3d 1343, 1347 (10th Cir.1997), this Court must apply a relaxed

standard to the probability of success standard and should grant the stay and injunction pending

appeal.




                                                 2
   WHEREFORE, Plaintiffs respectfully request that Court issue an injunction pending appeal

that bars the Defendants from enforcing any order or taking any action which infringes upon

Plaintiff’s free exercise of rights protected by the First Amendment in the Seventh Judicial District

Court’s facilities as long as he complies with all applicable rules.


                                                      Respectfully submitted,

                                                      WESTERN AGRICULTURE, RESOURCE
                                                      AND BUSINESS ADVOCATES, LLP

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                                  CERTIFICATE OF SERVICE

I hereby certify that on October 26, 2023, I filed the foregoing via the CM/ECF causing all
parties of record to be served electronically.

/s/ A. Blair Dunn
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                                                  3
